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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 GRENILE GAINEY a/k/a NAREE
 ABDULLAH, et al.,
 Plaintiff,                                       CIVIL ACTION NO. 22-4143

 v.

 CITY OF PHLADELPHIA, et al.,
 Defendant.

                                           ORDER

      AND NOW, this 21st day of August, 2024, it is hereby ORDERED that Plaintiffs’ Motions

to Compel (ECFs 71 and 73) are GRANTED IN PART, DENIED IN PART, as follows:

      1. Within ten (10) days of this Order, Defendant must prepare and serve an index of
         documents produced to Plaintiffs.

      2. Defendant must list any categories of documents requested by Plaintiffs but not
         produced, with reasons stated.

      3. Defendant must identify any documents withheld for privilege or under the work
         product doctrine.

      4. Within ten (10) days of this Order, Plaintiff shall file, as to each proposed deponent,
         the deponent’s alleged role in the alleged wrongful conduct, after which the Court will
         rule on Plaintiffs’ request for depositions.

      5. Within ten (10) days of completion of the above discovery, each Party may supplement
         their briefing in connection with Defendant’s Motion for Summary Judgment (ECF
         79). Each initial supplemental brief is limited to fifteen (15) pages. Following this
         initial supplemental briefing, each Party may then file a response brief within ten (10)
         days, limited to ten (10) pages.

                                                   BY THE COURT:

                                                   /s/ Michael M. Baylson
                                                   __________________________
                                                   MICHAEL M. BAYLSON
                                                   United States District Judge
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